Case 4:11-cv-00161-Y Document 36 Filed 09/27/11     Page 1 of 28 PageID 610



                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

SULEMA GARZA,                        §
                                     §
       Plaintiff,                    §                     JURY DEMAND
                                     §
v.                                   §     Civil Action No. 4:11-cv-00161-Y
                                     §
NEW BREED LOGISTICS, INC.,           §        District Judge Terry R. Means
                                     §
       Defendant.                    §



     PLAINTIFF’S RESPONSE TO DEFENDANT’S AMENDED MOTION TO
         QUASH AND FOR PROTECTION AND BRIEF IN SUPPORT




                                     David L. Wiley
                                     Texas State Bar No. 24029901
                                     Amy E. Gibson
                                     Texas State Bar No. 00793801
                                     Gibson Wiley PLLC
                                     1700 Commerce Street, Suite 1570
                                     Dallas, Texas 75201-5302
                                     Telephone: (214) 522-2121
                                     Facsimile: (214) 522-2126
                                     E-Mail Addresses:
                                             david@gwfirm.com
                                             amy@gwfirm.com

                                     Enrique Chavez, Jr.
                                     Texas State Bar No. 24001873
                                     Chavez Law Firm
                                     2101 Stanton Street
                                     El Paso, Texas 79902
                                     Telephone: (915) 351-7772
                                     Facsimile: (915) 351-7773
                                     Email Address:
                                            chavezlaw7773@sbcglobal.net
Case 4:11-cv-00161-Y Document 36 Filed 09/27/11             Page 2 of 28 PageID 611
                         TABLE OF CONTENTS

Description                                                           Page Number

TABLE OF CONTENTS                                                           i

TABLE OF AUTHORITIES                                                        ii

I.     NATURE OF THE CASE                                                   1

II.    SUMMARY OF ARGUMENT                                                  2

              Agreements                                                    2

              Material Need for the Deposition                              2

              No Substitute for Mr. Valitutto’s Knowledge                   3

              Timing of the Deposition Request                              4

              Attorney-Client Privilege and Work Product                    6

III.   DISCOVERY HISTORY                                                    7

              Written Discovery: New Breed Does Not Disclose
              Involvement of Mr. Valitutto and Others at
              North Carolina Headquarters                                   7

              Depositions: Recent Revelations of Involvement
              in Termination Decision                                       10

              Diligence                                                     14

IV.    ARGUMENT AND AUTHORITIES                                             16

       A.     No work product at issue                                      16

       B.     Texas attorney-client privilege rules allow
              Deposition to move forward                                    17

       C.     Texas Law on Privilege Applies and
              Permits Deposition of an Attorney                             20

SIGNATURE BLOCK                                                             23

CERTIFICATE OF SERVICE                                                      24




                                            i
Case 4:11-cv-00161-Y Document 36 Filed 09/27/11 Page 3 of 28 PageID 612
                       TABLE OF AUTHORITIES

Description                                                               Page Number

CASES

   FEDERAL COURT OF APPEALS

      Dunn v. State Farm, 927 F.2d 869 (5th Cir. 1991)                         19

      Hodges, Grant & Kaufman v. U.S. Gov't, Dept. of Treasury, I.R.S.,
      768 F.2d 719 (5th Cir. 1985)                                             20

      Int'l Ins. Co. v. RSR Corp., 426 F.3d 281 (5th Cir. 2005)                17

      Nguyen v. Excel Corp., 197 F.3d 200 (5th Cir. 1999)                      20

      Salter v. Upjohn, 594 F.2d 649 (5th Cir. 1979)                           17

      Shelton v. Am. Motors Corp., 805 F.2d 1323 (8th Cir. 1986)               18

   FEDERAL DISTRICT COURT

      Conoco v. Boh Brothers Construction Co.,
      191 F.R.D. 107, 118, n.6 (W.D. La. 1998)                                 19

      Delor v. Intercosmos Media Group, Inc.,
      No. 2:04-cv-03262 (E.D. La. June 27, 2005)                               20

      Horizon Holdings, LLC v. Genmar Holdings, Inc.,
      No. 2:01-cv-02193 (D. Kan. June 13, 2002)                                18

      Kasper v. Cooper Canada Ltd.,
      120 F.R.D. 58 (N.D. Ill. 1988)                                           15-16

      Mill-Run Tours, Inc. v. Khashoggi,
      124 F.R.D. 547 (S.D.N.Y. 1989)                                           14

      Murphy v. Adelphia Recovery Trust,
      No. 3:09-mc-00105-B-BD (N.D. Tex. 2009)                                  18

      New Medium Tech, LLC v. Barco N.V.,
      242 F.R.D. 460 (N.D. Ill. April 30, 2007)                                14

      Scooter Store, Inc. v. Spinlife.com, LLC,
      No. 2:10-cv-18 (S.D. Ohio May 25, 2011)                                  15




                                           ii
Case 4:11-cv-00161-Y Document 36 Filed 09/27/11 Page 4 of 28 PageID 613
                       TABLE OF AUTHORITIES

Description                                                       Page Number


   TEXAS COURTS OF APPEALS

      Hilliard v. Heard, 666 S.W.2d 584
      (Tex. App.—Houston [1st Dist.] 1984, orig. proceeding)           18

      In re Mason & Co. Prop. Mgmt., 172 S.W.3d 308
      (Tex. App.—Corpus Christi 1989, orig. proceeding)                18

      Nat’l Union Fire Ins. Co. v. Hoffman,
      746 S.W.2d 305 (Tex. App.—Dallas 1988, orig. proc.)              6

      Borden, Inc. v. Valdez, 773 S.W.2d 718
      (Tex. App.—Corpus Christi 1989, orig. proceeding)                18-19

STATUTES

   28 U.S.C. § 1404(a)                                                 15

   28 U.S.C. § 1332                                                    17

FEDERAL RULES

   Federal Rule of Civil Procedure 26(b)(5)(A)                         8

   Federal Rules of Civil Procedure 26(b)(3)(A)                        20

   Federal Rules of Civil Procedure 26(b)(3)(b)                        20

   Federal Rule of Evidence 501                                        17

STATE RULES

   Texas Rule of Civil Procedure 194.2(e)                              6

   Texas Rule of Civil Procedure 193.3(a)                              6, 8

   Texas Rule of Evidence 503                                          18

SECONDARY AUTHORITY

   8A Charles Alan Wright, Arthur R. Miller, Richard L. Markus,
   Federal Practice & Procedure § 2112 (3d ed. 2010)                   15

   6 Moore’s Federal Practice §26.70[7] (Matthew Bender 3d ed.)        20


                                            iii
Case 4:11-cv-00161-Y Document 36 Filed 09/27/11                Page 5 of 28 PageID 614



        Plaintiff Sulema Garza, through undersigned counsel, files and serves Plaintiff’s

Response to Defendant’s Motion to Quash and for Protection and Brief in Support and

respectfully states as follows.1


                                I. NATURE OF THE CASE


        1.        This is an employment discrimination and retaliation case brought

pursuant to the Texas Commission on Human Rights Act.2 Ms. Garza alleges that her

former employer New Breed Logistics, Inc. (“New Breed”) unlawfully subjected her to

harassment based on sex and then retaliated against her via termination and other adverse

actions because she opposed the sex-based harassment.3 Ms. Garza also asserts a claim

for assault.4




1
       Unless otherwise noted, Ms. Garza’s attorneys have supplied all emphases,
omitted from quotations of judicial opinions all internal citations and quotation marks,
and omitted from all citations to judicial opinions all internal citing references.

        Ms. Garza’s attorneys refer to Defendant’s Amended Motion to Quash and for
Protection and Brief in Support as the “Motion.” Ms. Garza’s attorneys refer to
Plaintiff’s Response to Defendant’s Amended Motion to Quash and for Protection and
Brief in Support as the “Response.”

       Pursuant to Local Civil Rule 7.1(i), the evidence and other documents supporting
the Response are contained in the separately filed Appendix in Support of Plaintiff’s
Response to Defendant’s Amended Motion to Quash and for Protection (the
“Appendix”).
2
        See Appendix, pp. 2, 4-6 ¶¶ 2, 11-14 [Plaintiff’s Original Petition].
3
        See id.
4
        See id. at pp. 4-6 ¶ 11, 15.


PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO
QUASH AND FOR PROTECTION AND BRIEF IN SUPPORT ― Page 1 of 24
Case 4:11-cv-00161-Y Document 36 Filed 09/27/11              Page 6 of 28 PageID 615



                           II. SUMMARY OF ARGUMENT


                                      Agreements


       2.      The Motion correctly identifies the parties’ agreements concerning the

place, date, and time of any oral deposition of Richard Valitutto.5 With respect to the

method of taking the deposition, Ms. Garza clarifies that the parties’ agreement was to

allow Ms. Garza’s attorneys the option to remain in Texas and the option to take the oral

deposition via video conference using Skype or similar technology [as opposed to merely

videotaping the deposition].


                           Material Need for the Deposition


       3.      New Breed itself caused the need for Richard Valitutto’s deposition due to

decision-maker finger pointing and conflicting accounts as to who made the adverse

employment decisions in this case. Significantly, this is a “cat’s paw” retaliation case —

i.e., Ms. Garza seeks to hold New Breed liable for the retaliatory animus of an employee

who influenced, but did not make, the ultimate decision to fire Ms. Garza.6 As such, Ms.

Garza has pursued, as she must, evidence concerning what precisely occurred at each

stage of the decisional process as well as more general information concerning the overall


5
       See Motion, p. 3.
6
        Ms. Garza believes Human Generalist Rodney Franklin — who handled Ms.
Garza’s sexual harassment complaint and was involved in all adverse employment
decisions at issue in this case — harbored the retaliatory animus. Ms. Garza has also
pursued discovery concerning influence of the co-worker accused of sexual harassment in
relation to the decisions to suspend and terminate Ms. Garza.


PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO
QUASH AND FOR PROTECTION AND BRIEF IN SUPPORT ― Page 2 of 24
Case 4:11-cv-00161-Y Document 36 Filed 09/27/11               Page 7 of 28 PageID 616



decisional process itself. Further, courts have concluded that the very fact of conflicting

or shifting accounts as to who made the relevant employment decisions may be evidence

of pretext.


        4.      Witnesses have pointed to Mr. Valitutto as the person who made the

ultimate decision to terminate Ms. Garza’s employment. One witness has further pointed

to Mr. Valitutto as a person involved in an earlier unpaid suspension decision at issue in

this case. New Breed claims Ms. Garza “is misreading” the deposition testimony,7 but it

offers a deposition errata sheet and indicates another deposition errata sheet is expected.8

If Ms. Garza was truly misreading the original deposition testimony, there would be no

need for errata sheets changing the witnesses’ answers on these issues. New Breed’s

preferred version of conflicting testimony cannot foreclose permissible discovery.


                     No Substitute for Mr. Valitutto’s Knowledge


        5.      Although New Breed has offered a stipulation in lieu of deposition, the

stipulation itself is conclusory and wholly insufficient with respect to pursuit of a cat’s

paw case. Moreover, a stipulation is a poor substitute for an oral deposition. Ms. Garza

simply is not required to accept a stipulation in lieu of permissible and preferred methods

of discovery.


        6.      New Breed appears to suggest the deposition of former New Breed


7
        See Motion, p. 3 (“Defendant believes Plaintiff is misreading the testimony.”).
8
        See id. at pp. 3-4 & Appendix to Motion, Exhibit D.


PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO
QUASH AND FOR PROTECTION AND BRIEF IN SUPPORT ― Page 3 of 24
Case 4:11-cv-00161-Y Document 36 Filed 09/27/11             Page 8 of 28 PageID 617



employee Denise Ball in lieu of Mr. Valitutto’s oral deposition.        As New Breed

acknowledges, Ms. Garza previously and timely sought to depose Ms. Ball.9 However, to

date, no party has been able to locate Ms. Ball. Even if Ms. Ball was located, nothing

indicates that Ms. Ball — who worked for New Breed in Fort Worth — will have any

remote idea [much less admissible evidence] about what actually transpired in North

Carolina.


        7.      Ms. Garza simply is not aware of any substitute for Mr. Valitutto’s

testimony about what Mr. Valitutto reviewed, relied upon, and otherwise did. During the

course of discovery, witnesses have not been able to testify to what transpired in that

respect. Further hampering discovery, Human Resources Generalist Rodney Franklin

[believed to have the retaliatory animus in this case] admittedly shredded his notes,

deleted his emails, and deleted all electronic word processing documents concerning the

investigation into Ms. Garza’s complaints [and hence any communications with Mr.

Valitutto].10


                           Timing of the Deposition Request


        8.      Despite Ms. Garza’s written discovery requests that should have caused

New Breed to reveal the information, New Breed had not, until very recently, disclosed

in written discovery responses the involvement of anyone at its North Carolina

headquarters in the suspension decisions involved in this case or the termination of Ms.

9
        See id. at p. 4.
10
        See Appendix, pp. 77-81.


PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO
QUASH AND FOR PROTECTION AND BRIEF IN SUPPORT ― Page 4 of 24
Case 4:11-cv-00161-Y Document 36 Filed 09/27/11             Page 9 of 28 PageID 618



Garza’s employment.11 With respect to oral depositions that went forward beginning

August 10, 2011, Ms. Garza had requested all of these depositions more than five months

earlier.


           9.     On August 12, 2011, Melissa Buntaine — a Human Resources Manager at

New Breed’s Fort Worth location and a person identified in New Breed’s interrogatory

answers as having made the decision to terminate Ms. Garza — appeared for her oral

deposition.      Ms. Buntaine testified that she merely reviewed a recommendation to

terminate Ms. Garza and pointed to New Breed North Carolina headquarters and

specifically Mr. Valitutto with respect to the ultimate decision to terminate Ms. Garza.

Her testimony contradicted New Breed’s answers to interrogatories requesting the

identities and roles of persons who participated in, recommended, and made the decision

to terminate Ms. Garza’s employment.


           10.    On August 16, 2011, Rodney Franklin — a former Human Resources

Generalist at New Breed’s Fort Worth location and the sole person identified in New

Breed’s interrogatory answers as having recommended Ms. Garza’s termination —

appeared for his oral deposition.     Mr. Franklin denied that he ever recommended

termination of Ms. Garza’s employment. Mr. Franklin also pointed to New Breed North

Carolina headquarters — and specifically Richard Valitutto — as involved in suspension




11
        New Breed finally disclosed Mr. Valitutto’s involvement only after Ms. Garza
filed Plaintiff’s Response to Defendant’s [Original] Motion to Quash and for Protection.


PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO
QUASH AND FOR PROTECTION AND BRIEF IN SUPPORT ― Page 5 of 24
Case 4:11-cv-00161-Y Document 36 Filed 09/27/11                Page 10 of 28 PageID 619



 events in this case.12


         11.     Within 3 calendar days after the August 16, 2011 deposition, Ms. Garza’s

 counsel conferred with New Breed’s counsel about deposing persons located at North

 Carolina headquarters — in light of first disclosure in depositions and contradictory

 interrogatory answers.13 New Breed’s counsel did not respond with an answer. The next

 week, due to the lack of response, Ms. Garza’s counsel again raised the issue at an

 August 24, 2011 deposition in this case. At that time, New Breed’s counsel promised an

 answer at mediation on August 25, 2011. When no answer came on August 25, 2011,

 Ms. Garza the next day served a Notice to Take the Oral Deposition of Person Identified

 in Oral Depositions as Richard Valitutto14 (the “Notice”).


                          Attorney-Client Privilege and Work Product


         12.     This case involves only state law claims. New Breed removed the case

 from state court to federal court based on diversity jurisdiction. In such a situation, state

 law governs the attorney-client privilege question, and federal law governs the work

 product question. For both questions, New Breed bears the burden in the first instance of

 establishing each element of the attorney-client privilege and each element of the work

 12
         Mr. Franklin provided conflicting testimony on this issue. However, based on
 discovery obtained to date, Ms. Garza does believe some communication with Mr.
 Valitutto in the time frame of the sexual harassment investigation and suspension caused
 or added to Mr. Fraklin’s retaliatory animus.
 13
        At the time, Ms. Garza’s counsel expected to be in a jury trial the week of August
 29, 2011 and thus conferred on leave to take these depositions.
 14
         See Appendix, p. 99 [2011-08-26 Email].


 PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO
 QUASH AND FOR PROTECTION AND BRIEF IN SUPPORT ― Page 6 of 24
Case 4:11-cv-00161-Y Document 36 Filed 09/27/11              Page 11 of 28 PageID 620



 product doctrine. It has not made an effort to do so.


        13.     Indeed, despite global work product claims, it is almost inconceivable that

 Mr. Valitutto or New Breed anticipated litigation at the time of the events about which

 Ms. Garza seeks to question Mr. Valitutto. Ms. Garza filed a Charge of Discrimination

 shortly after New Breed terminated her employment. With respect to attorney-client

 privilege, Mr. Valitutto’s affidavit indicates that he had veto power over employment

 decisions and thus injected himself into making business decisions for New Breed [rather

 than acting in a merely advisory capacity].


        14.     The Shelton analysis — which the Fifth Circuit has discussed but never

 explicitly adopted — does not apply in this case [even if it potentially could apply]. New

 Breed has not made the initial showing necessary to trigger application of the Shelton

 analysis. Further, Ms. Garza met the Shelton factors.


                              III. DISCOVERY HISTORY


           Written Discovery: New Breed Does Not Disclose Involvement of
             Mr. Valitutto and Others at North Carolina Headquarters


        15.     Throughout written discovery, New Breed did not disclose the

 involvement of anyone in the North Carolina headquarters until very recently — as this

 timeline shows:

        ►      June 2010 [case in state court]: New Breed’s disclosure responses
        did not list anyone in North Carolina as a person having knowledge of




 PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO
 QUASH AND FOR PROTECTION AND BRIEF IN SUPPORT ― Page 7 of 24
Case 4:11-cv-00161-Y Document 36 Filed 09/27/11               Page 12 of 28 PageID 621



        relevant facts.15 Pursuant to Texas Rule of Civil Procedure 194, New
        Breed was required to disclose upon request the identities of persons
        having knowledge of relevant facts — without regard to whether it
        intended to use such facts to support its claims or defenses.16

        ►       June 2010 [case in state court]: New Breed responds to a document
        request seeking documents “discussing, mentioning, or reflecting your
        decision to terminate or your actual termination” of Ms. Garza.17 None of
        the documents that New Breed produced disclosed the involvement of its
        North Carolina headquarters in the termination decision. New Breed’s
        objection “to the extent it seeks information protected by the attorney-
        client privilege and work product doctrine” said nothing about whether
        documents were withheld based on privilege and was otherwise improper
        under Texas law.18

        ►      February 2011 [case in state court]: New Breed’s first
        supplemental disclosure responses did not name anyone in North Carolina

 15
         See Appendix, pp. 9-13 [Defendant New Breed Logistics, Inc.’s Responses to
 Plaintiff’s Request for Disclosure]. Defendant named seven persons: Sulema Garza,
 Richard Staton, Deborah Maxwell, Teresa Falcon, Veronica Ruvalcaba, Aida Garcia, and
 Rodney Franklin. See id.
 16
        See TEX. R. CIV. P. 194.2(e) (requiring disclosure of “the name, address, and
 telephone number of persons having knowledge of relevant facts, and a brief statement of
 each identified person’s connection with the case”).
 17
        See Appendix, pp. 14-17 [Defendant New Breed Logistics, Inc.’s Objections and
 Responses to Plaintiff’s First Request for Production] (“DOCUMENT REQUEST NO.
 37 All Communications and other Documents, in both paper and electronic form,
 discussing, mentioning, or reflecting your decision to terminate or your actual
 termination of Sulema’s employment with you;”).
 18
         See Nat’l Union Fire Ins. Co. v. Hoffman, 746 S.W.2d 305, 307 n.3 (Tex. App.—
 Dallas 1988, orig. proc.) (“Reiterating an objection to producing documents ‘to the extent
 that’ they may fall within particular privileges is not the specific pleading Peeples
 requires. A litany like National Union’s may be no more specific than a single blanket
 assertion that documents requested may be privileged.”); see also TEX. R. CIV. P.
 193.3(a) (“(a) Withholding privileged material or information. A party who claims that
 material or information responsive to written discovery is privileged may withhold the
 privileged material or information from the response. The party must state ― in the
 response (or an amended or supplemental response) or in a separate document ― that: (1)
 information or material responsive to the request has been withheld, (2) the request to
 which the information or material relates, and (3) the privilege or privileges asserted.”).


 PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO
 QUASH AND FOR PROTECTION AND BRIEF IN SUPPORT ― Page 8 of 24
Case 4:11-cv-00161-Y Document 36 Filed 09/27/11            Page 13 of 28 PageID 622



       as a person having knowledge of relevant facts.19

       ►      March 2011 [post-removal]: New Breed again supplemented its
       disclosure responses but did not name anyone in North Carolina as a
       person having knowledge of relevant facts.20

       ►       June 2011: [post-removal] New Breed’s initial disclosures do not
       identify anyone in North Carolina as an individual likely to have
       discoverable information that the disclosing party may use to support its
       claims or defenses, unless the use would be solely for impeachment.21

       ►      June 2011: [post-removal] New Breed’s interrogatory answer does
       not name anyone in North Carolina as a person who recommended Ms.
       Garza’s termination, participated in the decision to terminate Ms. Garza,
       or made the ultimate decision to terminate Ms. Garza.22

       ►      June 2011: [post-removal] New Breed’s initial disclosures identify
       without limitation “correspondence, emails, notes and/or memoranda
       relevant to the claims made in the lawsuit” as documents it may use to
       support its claims or defenses.23 Yet, none of the documents that New
       Breed has produced in this case disclosed the involvement of its North
       Carolina headquarters in the employment decisions at issue.

 19
        See Appendix, pp. 18-23 [Defendant New Breed Logistics, Inc.’s Supplemental
 Responses to Plaintiff’s Request for Disclosures]. Defendant named twelve persons:
 Sulema Garza, Richard Staton, Deborah Maxwell, Teresa Falcon, Veronica Ruvalcaba,
 Melissa Buntaine, Jim Valdez, Shelly Finch, Saddie Anderson, Aida Garcia, Rodney
 Franklin, and Amanuel Woldai. See id.
 20
        See Appendix, pp. 26-32 [Defendant New Breed Logistics, Inc.’s Supplemental
 Disclosures]. Defendant named eighteen persons: Sulema Garza, Richard Staton,
 Deborah Maxwell, Teresa Falcon, Veronica Ruvalcaba, Melissa Buntaine, Jim Valdez,
 Shelly Finch, Saddie Anderson, Celeste Cavillo, Glenda Livingston, Aida Garcia,
 Rodney Franklin, Amanuel Woldai, Denise Ball, Rick Haines, Amy Dethoudam and
 Lynn Bates. See id.
 21
        See Appendix, pp. 33-41[Defendant New Breed Logistics, Inc.’s Initial
 Disclosures].
 22
       See Appendix, pp. 42-46 [Defendant New Breed Logistics, Inc.’s Objections and
 Answers to Plaintiff’s Third Set of Interrogatories].
 23
        See Appendix, pp. 33-41 [Defendant New Breed Logistics, Inc.’s Initial
 Disclosures].


 PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO
 QUASH AND FOR PROTECTION AND BRIEF IN SUPPORT ― Page 9 of 24
Case 4:11-cv-00161-Y Document 36 Filed 09/27/11                Page 14 of 28 PageID 623




        ►      June 2011: New Breed responds to two document requests seeking
        documents “generated, received, sent, forwarded, relied upon, or
        considered” in connection with internal investigation of Ms. Garza’s
        complaints at issue and internal investigations of Ms. Garza.24 None of
        the documents that New Breed produced disclosed the involvement of its
        North Carolina headquarters in the investigations [which led to the
        suspension at issue].

        ►       No Privilege Log: Until recently, New Breed had never provided a
        privilege log, which Federal Rule of Civil Procedure 26(b)(5)(A) requires
        when a party “withholds information otherwise discoverable by claiming
        that the information is privileged or subject to protection as trial
        preparation materials.”25 New Breed only provided a privilege log after
        Ms. Garza filed her response to its original motion to quash and for
        protection.

        ►       No State Court Withholding Statement for Privilege: Texas Rule
        of Civil Procedure 193.3(a) requires a withholding statement when a party
        claims material or information responsive to written discovery is
        privileged, subject to exceptions not at issue here.26 New Breed has never
        provided a withholding statement for any written discovery request.


       Depositions: Recent Revelations of Involvement in Termination Decision


        16.     In unsworn interrogatory answers, New Breed had stated the following:27


 24
       See Appendix, pp. 47-50 [Defendant New Breed Logistics, Inc.’s Objections and
 Responses to Plaintiff’s Second Request for Production, Document Request Nos. 11 &
 12].
 25
        See FED. R. CIV. P. 26(b)(5)(A).
 26
         See TEX. R. CIV. P. 193.3(a) (“(a) Withholding privileged material or information.
 A party who claims that material or information responsive to written discovery is
 privileged may withhold the privileged material or information from the response. The
 party must state ― in the response (or an amended or supplemental response) or in a
 separate document ― that: (1) information or material responsive to the request has been
 withheld, (2) the request to which the information or material relates, and (3) the privilege
 or privileges asserted.”).
 27
        See Appendix, p. 43 [Defendant New Breed Logistics, Inc.’s Objections and

 PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO
 QUASH AND FOR PROTECTION AND BRIEF IN SUPPORT ― Page 10 of 24
Case 4:11-cv-00161-Y Document 36 Filed 09/27/11             Page 15 of 28 PageID 624




        17.     Former New Breed Human Resources Generalist Mr. Franklin appeared

 for oral deposition on August 16, 2011.28 New Breed’s Human Resources Manager Ms.

 Buntaine appeared for oral deposition on August 12, 2011.29 Mr. Franklin testified that

 he made no such recommendation.30 Ms. Buntaine could not recall him doing so.31


        18.     Ms. Buntaine pointed to corporate counsel in North Carolina when asked

 who made the decision:


 Answers to Plaintiff’s Third Set of Interrogatories].
 28
        Mr. Franklin was an HR Generalist for Defendant in Texas. See Appendix, p. 25
 [Buntaine Deposition Transcript] (“Q. Did Rodney Franklin work at New Breed when
 you started there? A. Yes, he did. Q. And what was his position? A. HR generalist.”);
 cf. Appendix, p. 11 [Defendant New Breed Logistics, Inc.’s Responses to Plaintiff’s
 Request for Disclosure] (noting he is a former employee and listing Mr. Franklin’s Fort
 Worth, Texas, address).
 29
       Ms. Buntaine is a current HR Manager for Defendant in Texas. See Appendix, p.
 58 [Buntaine Deposition Transcript] (“Q. And what is your title? A. Human resources
 manager.”); cf. Appendix, p. 20 [Defendant New Breed Logistics, Inc.’s Supplemental
 Responses to Plaintiff’s Request for Disclosures] (listing her address as “c/o New Breed
 4320 N. Sylvania Ave Fort Worth, TX 76137”).
 30
         See Appendix, pp. 89-90, 92-93 [Franklin Deposition Transcript] (“Q. (By Ms.
 Gibson) Ultimately, you recommended that Sulema Garza be fired, correct? A. Again,
 my answer would stay the same. No, I gathered the information and handed it to my
 bosses, which a decision was made. . . . Q. And you’re claiming you did not recommend
 that Ms. Garza be fired, correct? A. Correct.”).
 31
         See Appendix, p. 60 [Buntaine Deposition Transcript] (“Q. Do you recall what
 Rodney Franklin’s recommendation was a month later? A. I do not recall the specific
 conversation that we had. Q. Do you recall what his recommendation was? A. No, I
 don’t. Q. Do you recall if Rodney Franklin wanted to fire Sulema Garza? A. I don’t
 specifically recall that, no.”).

 PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO
 QUASH AND FOR PROTECTION AND BRIEF IN SUPPORT ― Page 11 of 24
Case 4:11-cv-00161-Y Document 36 Filed 09/27/11              Page 16 of 28 PageID 625



        Q.      Do you know who made the decision, the ultimate decision,
        final decision, to fire Sulema Garza?
        A.      The ultimate decision to fire after the second incident, a
        recommendation would have been prepared, would have been
        reviewed by myself. It would have gone up to our corporate office,
        and they would have made a final determination on if they supported
        our recommendation.
        Q.      And by “corporate,” you’re saying headquarters in Greensboro,
        North Carolina?
        A.      Yes.
        Q.      And you recall specifically that a recommendation concerning
        Sulema Garza went to them and that this ― your New Breed location
        received a response?
        A.      Yes.
        Q.      What department does it go to?
        A.      General counsel.
        Q.      Who is general counsel?
        A.      Richard Valitutto.32

 She testified that any investigatory documents would have gone to the Director of Human

 Resources at the time — someone named “Nina” — who would meet with general

 counsel.33 Mr. Franklin put it this way:

        Everything was pretty much blessed out of headquarters. You did nothing


 32
        See Appendix, pp. 61-62 [Buntaine Deposition Transcript].
 33
         See Appendix, pp. 64-65 [Buntaine Deposition Transcript] (“Q. Now, you said
 that's what's in place now. At the time Sulema Garza was fired in the summer of 2008,
 do you know what actually took place at corporate once they received a
 recommendation? A. Yes. What I recall is the paperwork was submitted to Nina. I
 don't remember her last name, she's no longer with the company, but she was a director
 of HR at that time. Everything would be faxed to her. She would prepare the -- because
 she would be getting them from all over the company. She would prepare her
 information and would meet with general counsel, and they would go through them one
 by one. MS. SNYDER: Object as nonresponsive. Q. When you say the information is
 faxed, what information are you talking about, the recommendation?                      A.
 Recommendation for termination and any supporting documentation. Q. By supporting
 documentation, what do you mean? A. Usually any documentation that's gathered
 during an investigation. If it's an attendance issue, it would be attendance records would
 go up with the termination request, as an example.”).


 PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO
 QUASH AND FOR PROTECTION AND BRIEF IN SUPPORT ― Page 12 of 24
Case 4:11-cv-00161-Y Document 36 Filed 09/27/11                Page 17 of 28 PageID 626



        without headquarters knowing about it.34

        19.     According to Mr. Franklin, even for decisions less permanent than

 termination — such as suspensions — documentation first had to be sent to a vice

 president in North Carolina [Gene Corbett] and general counsel [Richard Valitutto].35

 For example, Mr. Franklin testified as follows:

        Q.     Did corporate North Carolina need to be involved on a decision
        to suspend without pay?

 34
        See Appendix, pp. 73-74 [Franklin Deposition Transcript] (“Q. Once you
 complete an investigation, while you were working at New Breed, did you make any
 recommendations to Melissa Buntaine, concerning what should happen or -- or your
 impressions of the investigation? A. Well, my -- I was always asked my impressions of
 what I thought, since I was the one that actually did the investigation, but that's pretty
 much what that was, and that was passed on to Melissa and Denise, and then later the
 process itself, which is what you're asking me about, all those facts were -- was sent to
 corporate, to general counsel at corporate, which would have been Richard Valitutto, if
 I'm pronouncing his last name correct anyway. Q. So New Breed had a legal
 department? A. Yes, in corporate. Q. And where is corporate? A. Greensboro, North
 Carolina. Q. Okay. So you're not talk about corporate locally, you're talking about
 headquarters? A. Right. Everything was pretty much blessed out of headquarters. You
 did nothing without headquarters knowing about it.”).
 35
         See Appendix, p. 75 [Franklin Deposition Transcript] (“Q. Okay. So corporate in
 North Carolina had to see documentation if anyone was going to be suspended, regardless
 of the nature of the suspension? A. Yes. Q. That was the process? A. Yes. Q. Was --
 was there any particular person that the documentation would go to at corporate in North
 Carolina? A. Went to -- to Gene Corbett, our vice-president, and -- and our legal
 attorney, which was Richard Valitutto.”). On subsequent examination by Defendant’s
 counsel, Mr. Franklin noted that he had authority to make suspension decisions and
 implied that corporate made the decisions for infractions that could involve termination.
 See id. at pp. 94-95 (“Q. I want to talk to you first about process, as you understand it, in
 the human resources functions that you performed. As an HR generalist, did you have
 the authority to suspend without -- let me start over. As an HR generalist, did you have
 the authority to suspend an employee without corporate being consulted on the decision
 to suspend? A. Yes. Q. As an example, if -- if it -- you have a credible belief that an
 employee has engaged in disruptive behavior, do you have the authority, on your own, to
 suspend that employee? A. Yes, me along with my manager. Q. Okay. Is it correct or
 incorrect to say that corporate makes the decision only when there's a -- an infraction -- a
 potential infraction that could involve termination? A. Yes.”).


 PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO
 QUASH AND FOR PROTECTION AND BRIEF IN SUPPORT ― Page 13 of 24
Case 4:11-cv-00161-Y Document 36 Filed 09/27/11            Page 18 of 28 PageID 627



        A.      Yes. They also involved in — with pay. Any suspension, they
        were — they were notified. Let’s put it like that.
        Q.      Okay. So corporate in North Carolina had to see documentation if
        anyone was going to be suspended, regardless of the nature of the
        suspension?
        A.      Yes.
        Q.      That was the process?
        A.      Yes.
        Q.      Okay. Was — was there any particular person that the
        documentation would go to at corporate in North Carolina?
        A.      Went to — to Gene Corbett, our vice-president, and — and our
        legal attorney, which was Richard Valitutto.
                                * * * [Objection Omitted]
        Q.      (By Ms. Gibson) Do you know what North Carolina corporate
        would then do once it received the paperwork?
        A.      No.
        Q.      Do you know what type of feedback they would
        give to the Fort Worth location of New Breed, or whether they gave
        feedback?
         A.     Well, I — I wasn’t directly involved in that feedback, but I
        knew they had to give them feedback, because a decision had to be
        made.
         Q.     Who — who dealt with North Carolina corporate, in terms of any
        feedback?
                                * * * [Objection Omitted]
        A.      Would have been my bosses.
        Q.      (By Ms. Gibson) Your bosses?
        A.      (Witness nods head.)
        Q.      Melissa and Ms. Ball; is that right?
        A.      Yes.
        Q.      And would Melissa Buntaine or Denise Ball then come to you
        and discuss what corporate had said?
        A.      They would — they wouldn’t discuss it. They would let me know
        what the decision was . . . . 36

                                        Diligence


        20.    Ms. Garza has diligently pursued this information — via written discovery

 and oral deposition — as this timeline shows:


 36
        See Appendix, pp. 42-43.


 PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO
 QUASH AND FOR PROTECTION AND BRIEF IN SUPPORT ― Page 14 of 24
Case 4:11-cv-00161-Y Document 36 Filed 09/27/11                 Page 19 of 28 PageID 628



       ►      April 2010: Plaintiff’s Original Petition filed in state court.37

       ►     April 2010: Plaintiff requests disclosure of persons with
       knowledge of relevant facts.

       ►    April 2010:       Plaintiff serves document requests seeking
       communications about termination.

       ►      June 2010: Plaintiff agrees to extend Defendant’s deadline to
       respond to document requests.

       ►      July 2010: Defendant serves response to document request
       seeking communications about termination — but produces no
       correspondence with North Carolina.

       ►     February 2011: Defendant supplements its production — but
       produces no correspondence with North Carolina.

       ►      February 18, 2011: Defendant first lists Melissa Buntaine in its
       disclosures

       ►      March 1, 2011: Plaintiff requests dates for depositions of Melissa
       Buntaine and Rodney Franklin [and others].

       ►      March 7, 2011:          Having received no requested dates for
       depositions, Plaintiff notices depositions for Melissa Buntaine [for March
       19, 2011] and others and requests a corporate representative deposition.

       ►      March 10, 2011: Defendant removes case to federal court.

       ►      March 23, 2011: Court issues order stating that no discovery
       should be proceeding until a scheduling order is issued.

       ►      May 31, 2011: Court issues Initial Scheduling Order

       ►       June 30, 2011: Pursuant to agreement of the parties, outstanding
       written discovery served prior to removal was due

       ►      July 11, 2011: Ms. Garza again requests deposition dates

       ►       July 18, 2011: Ms. Garza again requests deposition dates due to
       lack of response

 37
       See Appendix, pp. 1-8 [Plaintiff’s Original Petition].


 PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO
 QUASH AND FOR PROTECTION AND BRIEF IN SUPPORT ― Page 15 of 24
Case 4:11-cv-00161-Y Document 36 Filed 09/27/11                 Page 20 of 28 PageID 629




        ►      July 29, 2011: After intervening communications, many of the
        requested depositions are scheduled to begin in August


                         IV. ARGUMENT AND AUTHORITIES


 A.     No work product at issue


        Federal law governs work product protections in a diversity case.38 The modern

 work product doctrine is codified in Federal Rule of Civil Procedure 26(b)(3). The

 doctrine provides limited protection from disclosure of “documents and tangible things”

 that are “prepared in anticipation of litigation or for trial.”39 It also provides conditional

 protection for “mental impressions, conclusions, opinions, or legal theories of a party’s

 attorney or other representative concerning the litigation.”40 New Breed bears the burden

 of establishing entitlement to the protection.41


        Here, New Breed submits no evidence concerning when it anticipated litigation.


 38
         See Dunn v. State Farm, 927 F.2d 869, 875 (5th Cir. 1991) (diversity case
 wherein the 5th Circuit applied state law to asserted attorney-client privilege and federal
 law to claims of work-product immunity); Conoco v. Boh Brothers Construction Co., 191
 F.R.D. 107, 118, n.6 (W.D. La. 1998); see also 6 Moore’s Federal Practice §26.70[7]
 (Matthew Bender 3d ed.) (work product doctrine is governed by federal standard, even in
 diversity cases).
 39
        FED. R. CIV. P. 26(b)(3)(A).
 40
        FED. R. CIV. P. 26(b)(3)(B).
 41
         Hodges, Grant & Kaufman v. U.S. Gov't, Dept. of Treasury, I.R.S., 768 F.2d 719,
 721 (5th Cir. 1985) (“The burden of establishing that a document is work product is on
 the party who asserts the claim, but the burden of showing that the materials that
 constitute work product should nonetheless be disclosed is on the party who seeks their
 production.”).

 PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO
 QUASH AND FOR PROTECTION AND BRIEF IN SUPPORT ― Page 16 of 24
Case 4:11-cv-00161-Y Document 36 Filed 09/27/11                Page 21 of 28 PageID 630



 Moreover, despite global, conclusory work product claims, it is almost inconceivable that

 New Breed anticipated litigation at the time of the events about which Ms. Garza seeks to

 question Mr. Valitutto. Ms. Garza filed a Charge of Discrimination shortly after New

 Breed terminated her employment.         Mr. Valitutto’s involvement in the suspension

 decision and termination decision about which Ms. Garza seeks to question Mr. Valitutto

 occurred well before any Charge of Discrimination was filed.


 B.     Texas attorney-client privilege rules allow deposition to move forward


        For a diversity case [such as this one]42 the state law of the forum — rather than

 federal common law — sets the attorney-client privilege rules.43 None of the cases New

 Breed cites concerning the Shelton factors address Texas state law.44 Texas state law on


 42
         See generally Defendant New Breed Logistics, Inc.’s Notice of Removal [Doc. 1]
 at p. 3 ¶ 7 (“This court has original jurisdiction in this cause pursuant to 28 U.S.C. §
 1332, based upon diversity of citizenship between Plaintiff and her prior employer, New
 Breed.”); Plaintiff’s Original Petition [attached as Tab 1 to Defendant New Breed
 Logistics, Inc.’s Notice of Removal [Doc. 1]] at p. 6 ¶ 16 (“Sulema asserts no claims in
 this, her Original Petition, for violation of any federal law”).
 43
         See Int'l Ins. Co. v. RSR Corp., 426 F.3d 281, 299 n.26 (5th Cir. 2005) (“The
 availability of a privilege in a diversity case is governed by the law of the forum state.”);
 FED. R. EVID. 501 (“Except as otherwise required by the Constitution of the United States
 or provided by Act of Congress or in rules prescribed by the Supreme Court pursuant to
 statutory authority, the privilege of a witness, person, government, State, or political
 subdivision thereof shall be governed by the principles of the common law as they may
 be interpreted by the courts of the United States in the light of reason and experience.
 However, in civil actions and proceedings, with respect to an element of a claim or
 defense as to which State law supplies the rule of decision, the privilege of a witness,
 person, government, State, or political subdivision thereof shall be determined in
 accordance with State law.”).
 44
        See Nguyen v. Excel Corp., 197 F.3d 200 (5th Cir. 1999) (federal law FLSA case);
 Shelton v. Am. Motors Corp., 805 F.2d 1323 (8th Cir. 1986) (Arkansas state claims in
 federal court within 8th Circuit); Murphy v. Adelphia Recovery Trust, No. 3:09-mc-

 PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO
 QUASH AND FOR PROTECTION AND BRIEF IN SUPPORT ― Page 17 of 24
Case 4:11-cv-00161-Y Document 36 Filed 09/27/11                Page 22 of 28 PageID 631



 privilege is set forth in Texas Rule of Evidence 503.45 Texas law requires that a party

 resisting discovery bear the burden of showing that a particular communication is

 privileged.46


        Moreover, Texas law on privilege is clear: It will not foreclose deposition of an

 attorney altogether even if certain communications may be privileged.47 The Borden case

 is directly on point.     There, a plaintiff sued his former employer for wrongful




 00105-B-BD (N.D. Tex. 2009) (miscellaneous case related to case pending in New York
 federal court -- Civil Cover Sheet at Doc. 1-2 shows federal question jurisdiction); Delor
 v. Intercosmos Media Group, Inc., No. 2:04-cv-03262 (E.D. La. June 27, 2005) (case in
 Louisiana federal court – Plaintiff’s Second Amended Complaint [Doc. 46] asserts claims
 under Florida and Louisiana law); Horizon Holdings, LLC v. Genmar Holdings, Inc., No.
 2:01-cv-02193 (D. Kan. June 13, 2002) (alleging contract, tort, discrimination, and
 retaliation claims in Kansas federal court).
 45
        See TEX. R. EVID. 503 (“Lawyer-Client Privilege”).
 46
         See, e.g., Borden, Inc. v. Valdez, 773 S.W.2d 718, 720 (Tex. App.—Corpus
 Christi 1989, orig. proceeding) (“However, not all statements and communications made
 by a client to an attorney are privileged, and the burden is on the party resisting discovery
 to show that the communication was, in fact, protected by the privilege.”).
 47
         See Borden, 773 S.W.2d at 720 (“The attorney-client privilege was never intended
 to foreclose any opportunity to depose an attorney, but rather only precludes those
 questions which may somehow invade upon the attorney-client confidences. An attorney
 may not avoid a deposition in its entirety merely because some matters may be
 privileged, but must object when those inquiries are raised during the deposition.”); In re
 Mason & Co. Prop. Mgmt., 172 S.W.3d 308, 313 (Tex. App.—Corpus Christi 1989, orig.
 proceeding) (“As a more fundamental matter, however, a deposition may not be quashed
 in its entirety on grounds that some of the matters to be explored may be privileged. In
 short, an attorney may be deposed, even if he or she represents a party to the litigation in
 issue.”); Hilliard v. Heard, 666 S.W.2d 584, 585 (Tex. App.—Houston [1st Dist.] 1984,
 orig. proceeding) ("Whether or not such claims [of privilege] will be asserted is
 conjectural until they are made of record, and the mere prospect that such privilege or
 immunity will be urged on deposition does not justify prior restraint on the taking of a
 deposition.").


 PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO
 QUASH AND FOR PROTECTION AND BRIEF IN SUPPORT ― Page 18 of 24
Case 4:11-cv-00161-Y Document 36 Filed 09/27/11                   Page 23 of 28 PageID 632



 termination.48 During discovery, the plaintiff learned that his former employer’s in-house

 counsel was consulted by three employees prior to the termination.49       So, the plaintiff

 sought to depose the in-house counsel.50 The Borden court ruled that the attorney-client

 privilege to certain questions would not bar the deposition.51


        Again, New Breed itself caused the need for Mr. Valitutto’s deposition due to

 decision-maker finger pointing and conflicting accounts as to who made the adverse

 employment decisions in this case. Making matters worse, Mr. Franklin [believed to

 have the retaliatory animus in this case] admittedly shredded his notes, deleted his emails,

 and deleted all electronic word processing documents concerning the investigation into

 Ms. Garza’s complaints.52


        Mr. Valitutto’s affidavit indicates that he had veto power over employment

 decisions and thus injected himself into making business decisions for New Breed [rather

 48
        See Borden, 773 S.W.2d at 719 (“the real party in interest and plaintiff below,
 brought suit against relators alleging wrongful termination of employment in
 contravention of the Texas Workers' Compensation laws.”).
 49
        See id. (“During the discovery process, [plaintiff] learned that [attorney],
 [employer]'s corporate labor counsel, was consulted by three of [employer]'s employees
 prior to [plaintiff]'s discharge and that [attorney] may be aware of relevant facts
 underlying the subject matter of the lawsuit.”).
 50
        See id. (“[Plaintiff] thereafter sought to depose [attorney].”).
 51
        See id. at 720. (“The problem, however, is that no questions have been asked and
 we may only speculate as to the substance of what would be revealed should [in-house
 counsel] be deposed. This, we cannot do. The attorney-client privilege was never
 intended to foreclose any opportunity to depose an attorney, but rather only precludes
 those questions which may somehow invade upon the attorney-client confidences.”).
 52
        See Appendix, pp. 77-81.


 PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO
 QUASH AND FOR PROTECTION AND BRIEF IN SUPPORT ― Page 19 of 24
Case 4:11-cv-00161-Y Document 36 Filed 09/27/11                 Page 24 of 28 PageID 633



 than acting in a merely advisory capacity]. Indeed, he states that termination decisions

 “are subject to” his review. Moreover, New Breed Human Resources employees testified

 that Mr. Valitutto actually made the ultimate decision to terminate Ms. Garza.53 One

 Human Resources employee also testified that Mr. Valitutto was involved at the

 suspension stage.54


 C.     Even if Shelton analysis potentially applied, the deposition should go forward


        The Eighth Circuit has explained that the Shelton analysis “was intended to

 protect against the ills of deposing opposing counsel in a pending case which could

 potentially lead to the disclosure of the attorney’s litigation strategy.”55 Thus, as one

 court has noted:

        . . . [T]he critical factor in determining whether the Shelton test applies is
        not the status of the lawyer as “trial counsel,” but the extent of the lawyer's
        involvement in the pending litigation. If the lawyer has knowledge of
        relevant facts related to the subject matter of the litigation, and is merely
        advising the client with respect to the lawsuit, Shelton does not apply.56


        Here, New Breed has not offered any evidence that Mr. Valitutto has played any

 role in this lawsuit beyond “merely advising the client with respect to the lawsuit.”



 53
        See supra ¶¶ 16-19.
 54
        See id.
 55
        Murphy v. Adelphia Recovery Trust, No. 3-09-MC-105-B, 2009 WL 4755368,
 **2-3 (N.D. Tex. Nov, 3, 2009) (discussing Shelton).
 56
        Id. at *3.



 PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO
 QUASH AND FOR PROTECTION AND BRIEF IN SUPPORT ― Page 20 of 24
Case 4:11-cv-00161-Y Document 36 Filed 09/27/11                 Page 25 of 28 PageID 634



 Further, New Breed has not demonstrated that a deposition is likely to involve disclosure

 of any litigation strategy in this lawsuit. As such, the Shelton analysis does not apply.57


        Finally, even if the Shelton factors — which the Fifth Circuit has discussed but

 never explicitly adopted — potentially applied, Ms. Garza has met the requirements.

 Again, this is a “cat’s paw” retaliation case — i.e., Ms. Garza seeks to hold New Breed

 liable for the retaliatory animus of an employee who influenced, but did not make, the

 ultimate decision to fire Ms. Garza.58 As such, Ms. Garza has pursued, as she must,

 evidence concerning what precisely occurred at each stage of the decisional process as

 well as more general information concerning the overall decisional process itself.

 Further, courts have concluded that the very fact of conflicting or shifting accounts as to

 who made the relevant employment decisions may be evidence of pretext.


        Witnesses have pointed to Mr. Valitutto as the person who made the ultimate

 decision to terminate Ms. Garza’s employment. One witness has further pointed to Mr.

 Valitutto as a person involved in an earlier unpaid suspension decision at issue in this

 case. New Breed claims Ms. Garza “is misreading” the deposition testimony,59 but it



 57
        See id.; see also Advanced Technology Incubator, Inc. v. Sharp Corp., 263 F.R.D.
 395 (W.D. Tex. 2009) (refusing to quash deposition in light of conflicting evidence of
 whether attorney was acting in business capacity or giving legal advice and expressly
 refusing to apply heightened standard to issue simply because proposed deponent had
 provided legal advice in suit).
 58
         See generally Staub v. Proctor Hosp., 131 S. Ct. 1186 (2009) (discussing methods
 of establishing cat’s paw liability in mixed motive cases).
 59
        See Motion, p. 3 (“Defendant believes Plaintiff is misreading the testimony.”).


 PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO
 QUASH AND FOR PROTECTION AND BRIEF IN SUPPORT ― Page 21 of 24
Case 4:11-cv-00161-Y Document 36 Filed 09/27/11                Page 26 of 28 PageID 635



 offers a deposition errata sheet and indicates another deposition errata sheet is expected.60

 If Ms. Garza was truly misreading the original deposition testimony, there would be no

 need for errata sheets changing the witnesses’ answers on these issues. New Breed’s

 preferred version of conflicting testimony cannot foreclose permissible discovery.

        Ms. Garza has otherwise demonstrated the Shelton factors of lack of other sources

 of the information, the relevance of the information, and the lack of privilege on the

 current record.




 60
        See id. at pp. 3-4 & Appendix to Motion, Exhibit D.


 PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO
 QUASH AND FOR PROTECTION AND BRIEF IN SUPPORT ― Page 22 of 24
Case 4:11-cv-00161-Y Document 36 Filed 09/27/11      Page 27 of 28 PageID 636




                                      Respectfully submitted,


                                      s/ Amy Gibson
                                      ________________________________
                                      David L. Wiley
                                      Texas State Bar No. 24029901

                                      Amy E. Gibson
                                      Texas State Bar No. 00793801

                                      Gibson Wiley PLLC
                                      1700 Commerce Street, Suite 1570
                                      Dallas, Texas 75201-5302
                                      Telephone: (214) 522-2121
                                      Facsimile: (214) 522-2126
                                      E-Mail Addresses:
                                              david@gwfirm.com
                                              amy@gwfirm.com

                                      Enrique Chavez, Jr.
                                      Texas State Bar No. 24001873

                                      Chavez Law Firm
                                      2101 Stanton Street
                                      El Paso, Texas 79902
                                      Telephone: (915) 351-7772
                                      Facsimile: (915) 351-7773
                                      Email Address:
                                             chavezlaw7773@sbcglobal.net

                                      ATTORNEYS FOR
                                      SULEMA GARZA




 PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO
 QUASH AND FOR PROTECTION AND BRIEF IN SUPPORT ― Page 23 of 24
Case 4:11-cv-00161-Y Document 36 Filed 09/27/11            Page 28 of 28 PageID 637



                            CERTIFICATE OF SERVICE


        The undersigned certifies that on September 27, 2011, the foregoing Plaintiff’s

 Response to Defendant’s Motion to Quash and for Protection and Brief in Support will be

 served on Defendant New Breed Logistics, Inc., through its lead counsel of record, as

 follows:

 VIA CM/ECF SYSTEM

 Mr. Michael R. Buchanan
 Ms. Kristin M. Snyder
 Ogletree, Deakins, Nash,
 Smoak & Stewart, P.C.
 8117 Preston Road, Suite 700
 Dallas, Texas 75225


                                            s/ Amy Gibson
                                            _______________________________
                                            Amy E. Gibson




 PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO
 QUASH AND FOR PROTECTION AND BRIEF IN SUPPORT ― Page 24 of 24
